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14
                             UNITED STATES DISTRICT COURT
15
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
16

17   UNITED STATES OF AMERICA,              No. SA CR 20-00146-DOC

18              Plaintiff,                  ORDER DESIGNATING A CLASSIFIED
                                            INFORMATION COURT OFFICE
19                   v.                     (“CISO”)

20   JASON FONG,
       aka “asian_ghazi”,
21
                Defendant.
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23         For good cause shown, THE COURT ORDERS THE FOLLOWING:
24         1.    The Court has been made aware that there is the potential
25   for issues related to classified information to arise, given the
26   nature of the evidence and discovery in this case.           Federal law
27   expressly provides that federal court must have security procedures
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1    for the handling of classified information.          See Classified

2    Information Procedures Act, Pub. L. No. 96-456, § 9, 94 Stat. 2029

3    (1980).    Pursuant to paragraph 2 of the Security Procedures

4    established pursuant to the Pub. L. 96-456, 94 Stat. 2025 by the

5    Chief Justice of the United States for the protection of classified

6    information, the Court hereby appoints Winfield S. “Scooter” Slade,

7    Security Specialist, as the designated Classified Information

8    Security Officer in the above-entitled matter.

9          2.    The Court further appoints Daniel O. Hartenstine, Matthew
10   W. Mullery, Maura L. Peterson, Carli V. Rodriguez-Feo, and Harry J.
11   Rucker as Alternate Court Security Officers in the above-entitled
12   matter.
13

14    August 10, 2022
      DATE                                   THE HONORABLE DAVID O. CARTER
15                                           UNITED STATES DISTRICT JUDGE
16
     Presented by:
17

18          /s/
     CHRISTINE M. RO
19   MARK TAKLA
     Assistant United States Attorneys
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